

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-43,681-04






RAUL CASER ZARAGOZA, Relator


v.


HIDALGO COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. CR-1432-95-D IN THE 206TH JUDICIAL DISTRICT COURT

FROM HIDALGO COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 206th  Judicial District Court of Hidalgo County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Hidalgo County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order designating issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
claims asserted in the application filed by Relator are not cognizable under Tex. Code Crim. Proc.
art. 11.07, § 3; or stating that Relator has not filed an application for a writ of habeas corpus in
Hidalgo County. This application for leave to file a writ of mandamus shall be held in abeyance until
the respondent has submitted the appropriate response. Such response shall be submitted within 30
days of the date of this order.



Filed: June 11, 2008

Do not publish	


